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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


  UNITED STATES CORPORATION

  v.                                                          Case No. 3:17-cv-713-J-34JBT

  DEVON WAHID AHAD MORING EL



                                             ORDER

         THIS CAUSE is before the Court on the Report and Recommendation (Dkt. No. 4;

  Report), entered by the Honorable Joel B. Toomey, United States Magistrate Judge, on

  August 23, 2017. In the Report, Judge Toomey recommends that Plaintiff’s Application

  to Proceed in District Court Without Prepaying Fees or Costs, which the Court construes

  as a Motion to Proceed In Forma Pauperis (Dkt. No. 2; Motion), be denied, and that this

  case be dismissed without prejudice.        See Report at 1-2.       Plaintiff has failed to file

  objections to the Report, and the time for doing so has passed.

         The Court “may accept, reject, or modify, in whole or in part, the findings or

  recommendations made by the magistrate judge.” 28 U.S.C. § 636(b). If no specific

  objections to findings of fact are filed, the district court is not required to conduct a de novo

  review of those findings. See Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993);

  see also 28 U.S.C. § 636(b)(1). However, the district court must review legal conclusions

  de novo. See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994);

  United States v. Rice, No. 2:07-mc-8-FtM-29SPC, 2007 WL 1428615 at *1 (M.D. Fla.

  May 14, 2007).
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        Upon independent review of the file and for the reasons stated in the Magistrate

  Judge’s Report, the Court will accept and adopt the legal and factual conclusions

  recommended by the Magistrate Judge. Accordingly, it is hereby

        ORDERED:

        1.     The Magistrate Judge’s Report and Recommendation (Dkt. No. 4) is

               ADOPTED as the opinion of the Court.

        2.     Plaintiff’s Application to Proceed in District Court Without Prepaying Fees or

               Costs, which the Court construes as a Motion to Proceed In Forma Pauperis

               (Dkt. No. 2), is DENIED.

        3.     This case is DISMISSED without prejudice.

        4.     The Clerk of the Court is directed to terminate all pending motions and

               deadlines as moot and close the file.

        DONE AND ORDERED in Jacksonville, Florida this 20th day of September, 2017.




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  Copies to:

  Counsel of Record
  Pro Se Parties




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